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                        Exhibit I
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  ALEJANDRO MENOCAL, et al.,

                                Plaintiffs,           NO. 14-CV-02887-JLK

  v.
                                                      DEFENDANT THE GEO GROUP,
  THE GEO GROUP, INC.,                                INC.’S RESPONSES AND
                                                      OBJECTIONS TO PLAINTIFFS’
                                Defendant.            THIRD SET OF REQUESTS FOR
                                                      PRODUCTION OF DOCUMENTS


        Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure (“Fed. R. Civ. P.”)

 and the Local Rules of the U.S. District Court for the District of Colorado (the “Local Rules”),

 Defendant The GEO Group, Inc. (“GEO”) hereby responds and objects to Plaintiffs’ Third Set of

 Requests for Production of Documents.

                                PRELIMINARY STATEMENTS

        1.      Defendant objects to the disclosure of any information protected from discovery

 by the attorney-client privilege or work product doctrine.

        2.      Defendant states that any discovery relating to the production of confidential

 information regarding detainees, GEO employees, GEO policies, or implicates official

 information of the U.S. Immigration Customs and Enforcement (“ICE”) is subject to federal

 regulations at 6 C.F.R. §§ 5.41–5.49 and by United States ex rel. Touhy v. Ragen, 340 U.S. 462

 (1951) and the Amended Stipulated Protective Order Concerning Confidential Information,

 dated November 26, 2018 (ECF No. 155).

        3.      The responses to the discovery below are to the best of Defendant’s present

 ability and information. Defendant reserves the right to supplement these responses after

 completion of discovery, investigation, or preparation for trial. Defendant further reserves the



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 right to introduce evidence at the time of trial based upon information and/or documents located,

 developed, or discovered subsequent to the date hereof, which evidence may supplement,

 amplify, modify or be in conflict with the following answers that are based upon present

 information only.

         4.      Defendant objects to the “Definitions” and “Instructions,” in Plaintiffs’ discovery

 requests, to the extent they impose obligations beyond those imposed by the Federal Rules of

 Civil Procedure and to the extent they are vague and fail to provide specific understandable

 definitions.

         5.      Defendant objects to the discovery requests to the extent they seek information

 regarding GEO facilities, detainees, or employees outside the ICE detention facility in Aurora,

 CO (“the Aurora Detention Facility”). Information regarding other facilities is not relevant and

 not likely to lead to the discovery of relevant information. Such requests are also overbroad,

 unduly burdensome, and the burden of responding to them is not proportional to the needs of this

 case. For purposes of answering this discovery, Defendant is responding and will refer only to

 its ICE detention facility in Aurora, Colorado, and the detainees and employees from that facility

 as it is the only one relevant to Plaintiffs’ claims.

         6.      Defendant objects to Plaintiffs’ definition of “Relevant period” on the ground that

 it is unduly burdensome, as it would require GEO to continuously supplement its responses

 without a defined end date, and also on the ground that it is unduly burdensome, overbroad, and

 seeks information that is neither relevant nor proportional to any claim or defense and thus not

 likely to lead to the discovery of admissible evidence because by extending the “Relevant

 period” to “the present” it includes the time period after the end of the certified class period.

 GEO’s responses, unless otherwise indicated, relate to a period ending on October 22, 2014.



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        7.      The parties are meeting and conferring regarding search terms to be used to

 search for documents responsive to Plaintiffs’ requests. GEO reserves the right to amend or

 supplement these responses based on this meet and confer process.

                         RESPONSES AND OBJECTIONS TO
             THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

 REQUEST NO. 35

       Any and all documents relating to grievances, complaints, request forms, or “kites,”
 regarding the HUSP or the VWP.

 RESPONSE TO NO. 35

        GEO objects to this Request to the extent that it is overly broad, unduly burdensome, and

 seeks information not relevant or proportional to any claim or defense. Specifically, GEO also

 objects to this Request as overly broad and unduly burdensome because it contains no temporal

 limitation. GEO objects that documents relating to the HUSP are relevant only for the time

 period from October 22, 2004, through October 22, 2014. Similarly, documents relevant to the

 VWP are relevant only for the time period October 22, 2011, through October 22, 2014.

 Accordingly, the production of any documents relating to grievances, complaints, request forms,

 or “kites,” regarding the HUSP or the VWP will be limited to these time periods. In addition,

 GEO also objects to this Request as overly broad and unduly burdensome to the extent it requests

 documents relating to detainees who may not be Class Members. Further, GEO objects to this

 Request as overly broad and unduly burdensome because it is not limited to grievances,

 complaints, request forms, or “kites,” submitted at the Aurora Detention Facility. Documents

 relating to other facilities are not relevant to the claims and defenses in this case. Moreover, the

 burden of searching for and producing such documents is not proportional to the needs of this

 case. Also, GEO objects to this Request as overly broad and unduly burdensome to the extent it



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 seeks “any and all documents.” This language does not describe with reasonable particularity

 the information that is being requested. See Fed. R. Civ. 34(b)(1). To the extent this Request

 seeks documents containing confidential information regarding detainees, it is subject to the

 Amended Stipulated Protective Order Concerning Confidential Information, dated November 26,

 2018 (ECF No. 155).

        Subject to and without waiving the above-stated objections, GEO responds: GEO

 already has produced documents responsive to this Request for the named Plaintiffs. In addition,

 GEO is in the process of conducting a reasonable search of documents on active electronic

 systems and reasonably accessible paper storage areas that GEO believes may contain potentially

 relevant information. To the extent such documents exist, and subject to the Amended Stipulated

 Protective Order Concerning Confidential Information, dated November 26, 2018 (ECF No.

 155), GEO will produce relevant, responsive, non-privileged documents relating to grievances,

 complaints, request forms, or “kites,” regarding the HUSP or the VWP at the Aurora Detention

 Facility during the class periods.

        However, responsive documents are largely contained within the detainee files. For a

 variety of reasons, the production of all Class Members’ detainee files is unduly burdensome and

 not proportional to the needs of the case. As one example, GEO notes that the production of the

 detainee files requires page-by-page review of each page of the file, and also requires redaction

 of certain statutorily-protected information. Thus, GEO objects to producing the detainee files

 for all Class Members. However, GEO is willing to meet and confer about the purpose of

 Plaintiffs’ Request so that the parties can develop a process for production of documents that

 balances Plaintiffs’ need for the requested documents with the substantial burden that GEO faces

 to process them. GEO reserves the right to seek cost sharing for the cost of responding to this



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 Request. Further, as noted above, GEO objects to producing documents from facilities other

 than the Aurora Detention Facility and for time periods after the end of the class periods and has

 limited its investigation accordingly.

 REQUEST NO. 36

        All documents relating to Defendant’s document retention or destruction policy or
 computer record-keeping, including but not limited to Defendant’s policy regarding
 retention of video recordings in the Aurora Detention Facility.

 RESPONSE TO NO. 36

        GEO objects to this Request to the extent it seeks document retention or destruction

 policies, or computer record-keeping policies relating to facilities other than the Aurora

 Detention Facility. GEO objects this Request as overly broad, unduly burdensome, and not

 relevant or proportional to any claim or defense in this case. Specifically, GEO also objects to

 this Request as overly broad and unduly burdensome because it contains no temporal limitation.

 GEO objects that documents relating to the HUSP are relevant only for the time period from

 October 22, 2004, through October 22, 2014. Similarly, documents relevant to the VWP are

 relevant only for the time period October 22, 2011, through October 22, 2014. Further, GEO

 objects to this Request as overly broad and unduly burdensome because it seeks “[a]ll

 documents.” This language does not describe with reasonable particularity the information that

 is being requested. See Fed. R. Civ. 34(b)(1). To the extent this Request seeks GEO policies, it

 is subject to the Amended Stipulated Protective Order Concerning Confidential Information,

 dated November 26, 2018 (ECF No. 155).

        Subject to and without waiving the above-stated objections, GEO responds: To the

 extent such documents exist, and subject to the Amended Stipulated Protective Order

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 produce relevant, responsive, non-privileged documents relating to GEO’s document retention,

 destruction, and computer record-keeping policies that apply to the Aurora Detention Facility

 during the class periods.

 REQUEST NO. 37

        All documents relating to the determination of the rate paid to detainees under the
 VWP at all of GEO’s facilities, including but not limited to the $1/day rate paid to
 detainees at the Aurora Detention Facility.

 RESPONSE TO NO. 37

        GEO objects to this Request to the extent it seeks documents relating to the determination

 of the rate paid to detainees under the VWP at facilities other than the Aurora Detention Facility.

 Documents relating to the rate of pay at other facilities, involving substantively different

 contracts for different time periods, are not relevant to any claim or defense in this case.

 Moreover, the burden of searching for and producing such documents is not proportional to the

 needs of this case. In addition, GEO also objects to this Request as overly broad and unduly

 burdensome to the extent that it does not contain a temporal limitation. Documents relating to

 the VWP are relevant only for the time period from October 22, 2011, through October 22, 2014.

 Accordingly, the production of any documents relating to the determination of the rate paid to

 detainees under the VWP will be limited to that time period. Further, GEO objects to this

 Request to the extent it seeks documents containing information protected from discovery by the

 attorney-client privilege. Also, GEO objects to this Request as overly broad and unduly

 burdensome because it seeks “[a]ll documents.” This language does not describe with

 reasonable particularity the information that is being requested. See Fed. R. Civ. 34(b)(1). To

 the extent this Request seeks GEO policies, it is subject to the Amended Stipulated Protective

 Order Concerning Confidential Information, dated November 26, 2018 (ECF No. 155).



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        Subject to and without waiving the above-stated objections, GEO responds: It already

 has produced documents responsive to this Request. In addition, GEO is in the process of

 conducting a reasonable search of documents on active electronic systems and reasonably

 accessible paper storage areas that GEO believes may contain potentially responsive information.

 To the extent such documents exist, and subject to the Amended Stipulated Protective Order

 Concerning Confidential Information, dated November 26, 2018 (ECF No. 155), GEO will

 produce relevant, responsive, non-privileged documents relating to the determination of the rate

 paid to detainees under the VWP at the Aurora Detention Facility during the class periods.

 Among the responsive documents, GEO will produce its contract documents with ICE, as well as

 documents referenced in the contracts, such as the PBNDS. Further, as noted above, GEO

 objects to producing documents from facilities other than the Aurora Detention Facility and for

 time periods after the end of the class periods and has limited its investigation accordingly.

 REQUEST NO. 38

        All records of audits and/or evaluations of the Aurora Detention Facility, including
 by ICE and/or the Department of Homeland Security’s Office of the Inspector General, or
 by a contractor or any other party, including documents or ESI referring to such audits or
 evaluations and Defendant’s responses to such audits or evaluations and communications
 related to such audits or evaluations.

 RESPONSE TO NO. 38

        GEO objects to this Request to the extent it is overly broad, unduly burdensome, and

 seeks information not relevant or proportional to any claim or defense. Specifically, GEO

 objects to this Request as overly broad and unduly burdensome because it contains no temporal

 limitation. GEO objects that documents relating to the HUSP are relevant only for the time

 period from October 22, 2004, through October 22, 2014. Similarly, documents relevant to the

 VWP are relevant only for the time period October 22, 2011, through October 22, 2014.



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 Accordingly, the production of any documents relating to audits and/or evaluations of the Aurora

 Detention Facility will be limited to these time periods. In addition, GEO objects to this

 Request as to the extent it seeks records relating to audits or evaluation of the Aurora Detention

 Facility for issues that do not relate to the HUSP or the VWP, as those audits or evaluations are

 not relevant to this case, and the burden of producing such records is not proportional to the

 needs of this case. GEO also objects to this Request as overly broad and unduly burdensome to

 the extent it seeks “any and all documents.” This language does not describe with reasonable

 particularity the information that is being requested. See Fed. R. Civ. 34(b)(1).

         Subject to and without waiving the above-stated objections, GEO responds: GEO is in

 the process of conducting a reasonable search of documents on active electronic systems and

 reasonably accessible paper storage areas that GEO believes may contain potentially relevant

 information regarding audits and/or evaluations related to the HUSP or the VWP. To the extent

 such documents exist, and subject to the Amended Stipulated Protective Order Concerning

 Confidential Information, dated November 26, 2018 (ECF No. 155), GEO will produce relevant,

 responsive, non-privileged documents relating to audits and/or evaluations of the Aurora

 Detention Facility during the class periods. Further, as noted above, GEO objects to producing

 audits and/or evaluations on topics other than the HUSP or the VWP, or for time periods after the

 end of the class periods, that are not relevant or proportional to the claims or defenses in this

 case.

 REQUEST NO. 39

        All documents relating to communications between Defendant and any other party
 – including but not limited to lobbying firms, members of Congress and their staff(s),
 competitors, industry groups, and/or government entities – regarding pending or
 threatened complaints, claims, or lawsuits related to forced labor and/or trafficking.




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 RESPONSE TO NO. 39

        GEO objects to this Request to the extent it is overly broad, unduly burdensome, and not

 relevant or proportional to any claim or defense. Specifically, GEO objects to this Request as

 overly broad and unduly burden because it contains no temporal limitation. Moreover, GEO

 objects that documents relating to communications with individuals regarding complaints,

 claims, or lawsuits relating to forced labor or trafficking are relevant only for the time period

 from October 22, 2004, through October 22, 2014. In addition, GEO objects to this Request

 because it seeks information that is not relevant or proportional to any claim or defense. GEO

 also objects to this Request as vague and ambiguous as to the terms “forced labor and/or

 trafficking.” Similarly, the term “party” is ambiguous and undefined. GEO interprets the term

 “party” to refer to an individual or entity. Further, GEO objects to this Request to the extent it

 seeks documents containing information protected from discovery by the attorney-client

 privilege. GEO also objects to this Request as overly broad and unduly burdensome to the extent

 it seeks “all documents.” This language does not describe with reasonable particularity the

 information that is being requested. See Fed. R. Civ. 34(b)(1).

        Subject to and without waiving the above-stated objections, GEO responds: GEO objects

 to this Request for the reasons stated above. GEO is willing to meet and confer with Plaintiffs

 on the purported relevance of this Request.

 REQUEST NO. 40

        All documents referring to and/or relating to communications between Defendant
 and ICE (including but not limited to reports, alerts, memoranda, and/or emails) that refer
 or relate to the use of detainee labor at any GEO-owned or GEO-operated facility.




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 RESPONSE TO NO. 40

        GEO objects to this Request to the extent it is overly broad, unduly burdensome, and

 seeks information that is not relevant or proportional to any claim or defense. In addition, GEO

 objects to this Request to the extent it seeks documents relating to the use of detainee labor at

 facilities other than the Aurora Detention Facility. Documents relating to the use of detainee

 labor at other facilities are not relevant to any claim or defense in this case. Moreover, the

 burden of searching for and producing such documents is not proportional to the needs of this

 case. In addition, GEO also objects to this Request as overly broad and unduly burdensome to

 the extent that it does not contain a temporal limitation. Documents relating to the HUSP are

 relevant only for the time period from October 22, 2004, through October 22, 2014. Similarly,

 documents relating to the VWP are relevant only for the time period from October 22, 2011,

 through October 22, 2014. Accordingly, the production of any documents relating to the use of

 detainee labor will be limited to that time period. GEO also objects to this Request to the extent

 it seeks communications between GEO and ICE, which are governed by federal regulations at 6

 C.F.R. §§ 5.41-5.49 and by United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951). Further,

 GEO objects to this Request as overly broad and unduly burdensome because it is not limited to

 a specific aspect of detainee labor. Finally, GEO objects to this Request as overly broad and

 unduly burdensome because it seeks “[a]ll documents.” This language does not describe with

 reasonable particularity the information that is being requested. See Fed. R. Civ. 34(b)(1).

        Subject to and without waiving the above-stated objections, GEO responds: GEO is in

 the process of conducting a reasonable search of documents on active electronic systems and

 reasonably accessible paper storage areas that GEO believes may contain potentially responsive

 information. To the extent such documents exist, and subject to the Amended Stipulated



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 Protective Order Concerning Confidential Information, dated November 26, 2018 (ECF No.

 155), GEO will produce relevant, responsive, non-privileged documents relating to

 communications with ICE regarding the use of detainee labor at the Aurora Detention Facility

 during the class periods. Further, as noted above, GEO objects to producing documents from

 facilities other than the Aurora Detention Facility and for time periods after the end of the class

 periods and has limited its investigation accordingly. GEO notes that communications with ICE

 must be approved for release by ICE prior to GEO’s production.

 REQUEST NO. 41

        All documents signed by or purporting to be signed by any Class Member.

 RESPONSE TO NO. 41

        GEO objects to this Request to the extent it is overly broad, unduly burdensome, and

 seeks information that is not relevant or proportional to any claim or defense. Moreover, this

 Request is overbroad to the extent that it requests documents “signed by or purporting to be

 signed by any Class Member,” without regard to whether the document itself is relevant to any

 claim or defense in the case. GEO notes that documents relating to the HUSP are relevant only

 for the time period from October 22, 2004, through October 22, 2014. Similarly, documents

 relating to the VWP are relevant only for the time period from October 22, 2011, through

 October 22, 2014. Accordingly, the production of any documents containing Class Members’

 signatures will be limited to those time periods. Also, GEO objects to this Request as overly

 broad and unduly burdensome because it seeks “[a]ll documents.” This language does not

 describe with reasonable particularity the information that is being requested. See Fed. R. Civ.

 34(b)(1). To the extent this Request seeks documents containing confidential information




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 regarding detainees, it is subject to the Amended Stipulated Protective Order Concerning

 Confidential Information, dated November 26, 2018 (ECF No. 155).

        Subject to and without waiving the above-stated objections, GEO responds: Detainee

 files for Named Plaintiffs have been produced. GEO believes that any documents that GEO

 would have that would have been signed by a detainee at the Aurora Detention Facility (which

 may not contain all Court documents or documents the detainee may execute with ICE) are in the

 detainee files. Plaintiffs can use the signed documents within the detainee files of the named

 Plaintiffs as exemplars of what types of documents contain the signatures of Class Members.

 For a variety of reasons, the production of all Class Members’ detainee files is unduly

 burdensome and not proportional to the needs of the case. As one example, GEO notes that the

 production of the detainee files requires page-by-page review of each page of the file, and also

 requires redaction of certain statutorily-protected information. Thus, GEO objects to producing

 the detainee files for all Class Members. However, GEO is willing to meet and confer about the

 purpose of Plaintiffs’ Request so that the parties can develop a process for production of

 documents that balances Plaintiffs’ need for the requested documents with the substantial burden

 that GEO faces to process them. GEO reserves the right to seek cost sharing for the cost of

 responding to this Request.

 REQUEST NO. 42

         All documents GEO provided to or showed to any Class Member relating to GEO
 policies, ICE policies, and/or orientation to the Aurora Detention Facility.

 RESPONSE TO NO. 42

        GEO objects to this Request to the extent it is vague, ambiguous, overly broad, unduly

 burdensome, and seeks information that is not relevant or proportional to any claim or defense.




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 In addition, GEO objects to this Request to the extent it seeks GEO policies, ICE policies and/or

 orientation materials that do not relate to the HUSP or the VWP, as those materials are not

 relevant to this case, and the burden of producing such records is not proportional to the needs of

 this case. In addition, GEO objects that the terms “provided” or “shown” are vague and

 undefined.   GEO interprets the term “provided to” to mean documents a Class Member

 received in hard copy from a GEO employee that were then placed in the Class Member’s

 detainee file. GEO interprets “showed to” to mean documents displayed on a bulletin board in

 the housing units. For documents relevant to this Request, GEO used the bulletin boards to

 display updates before a new detainee handbook was published. Those updates where then

 included in the next version of the detainee handbook. GEO also objects to the term

 “orientation” as vague. GEO interprets “orientation” to mean materials from a detainee’s initial

 orientation into the Aurora Detention Facility. To the extent this Request seeks confidential

 information regarding detainees, GEO policies, or ICE policies, it is governed by federal

 regulations at 6 C.F.R. §§ 5.41-5.49 and by United States ex rel. Touhy v. Ragen, 340 U.S. 462

 (1951) and the Amended Stipulated Protective Order Concerning Confidential Information,

 dated November 26, 2018 (ECF No. 155). Finally, GEO objects to this Request as overly broad

 and unduly burdensome because it seeks “[a]ll documents.” This language does not describe

 with reasonable particularity the information that is being requested. See Fed. R. Civ. 34(b)(1).

        Subject to and without waiving the above-stated objections, GEO responds: GEO

 believes that all of GEO’s relevant documents that are responsive to this Request are in the

 detainee files or in the detainee handbooks. Plaintiffs can use the policies, ICE policies and/or

 orientation materials within the detainee files of the named Plaintiffs as exemplars of the types of

 documents in the detainee files that are responsive to this Request. For a variety of reasons, the



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 production of all Class Members’ detainee files is unduly burdensome and not proportional to the

 needs of the case. As one example, GEO notes that the production of the detainee files requires

 page-by-page review of each page of the file, and also requires redaction of certain statutorily-

 protected information. Thus, GEO objects to producing the detainee files for all Class Members.

 However, GEO is willing to meet and confer about the purpose of Plaintiffs’ Request so that the

 parties can develop a process for production of documents that balances Plaintiffs’ need for the

 requested documents with the substantial burden that GEO faces to process them. GEO reserves

 the right to seek cost sharing for the cost of responding to this Request.

        In addition, GEO will produce the 2011, 2013, and 2016 versions of the detainee

 handbook. “Policies” that the Class Members were shown are compiled in those handbooks.

 Finally, GEO has produced the native files from production volume 9. Those files contain

 exemplars of detainees’ initial orientation materials.   GEO notes that, to the extent this Request

 seeks ICE policies, GEO must receive ICE approval before producing responsive documents.

 REQUEST NO. 43

         All documents that refer or relate to the use of detainee labor at Defendant’s Aurora
 Detention Facility other than pursuant to the HUSP or the VWP, including but not limited
 to use of detainee labor for “special details.” See Ceja Tr. 161:12-19.

 RESPONSE TO NO. 43

        GEO objects to this Request to the extent it is overly broad, unduly burdensome, and not

 relevant or proportional. This Request is overly broad and unduly burdensome to the extent that

 it does not contain a temporal limitation. GEO objects that documents relating to the HUSP are

 relevant only for the time period from October 22, 2004, through October 22, 2014. Similarly,

 documents relevant to the VWP are relevant only for the time period October 22, 2011, through

 October 22, 2014. Accordingly, the production of any responsive documents will be limited to



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 these time periods. Also, GEO objects to this Request as overly broad and unduly burdensome

 because it seeks “[a]ll documents.” This language does not describe with reasonable

 particularity the information that is being requested. See Fed. R. Civ. 34(b)(1). To the extent

 this Request seeks GEO policies, it is subject to the Amended Stipulated Protective Order

 Concerning Confidential Information, dated November 26, 2018 (ECF No. 155).

        Subject to and without waiving the above-stated objections, GEO responds: GEO is in

 the process of conducting a reasonable search of documents on active electronic systems and

 reasonably accessible paper storage areas that GEO believes may contain potentially relevant

 information. To the extent such documents exist, and subject to the Amended Stipulated

 Protective Order Concerning Confidential Information, dated November 26, 2018 (ECF No.

 155), GEO will produce relevant, responsive, non-privileged documents relating to “special

 details” at the Aurora Detention Facility during the class periods.

 REQUEST NO. 44

         All documents that refer or relate to Class Members’ performance of work, tasks
 and/or duties pursuant to the HUSP and/or VWP, including all records of hours spent by
 Class Members performing such work, tasks and/or duties and all documents relating to
 compensation paid to Class Members for such work, tasks and/or duties. This request
 specifically includes computer-readable format databases, Excel spreadsheets, and/or
 reports showing hours or days worked by Class Members.

 RESPONSE TO NO. 44

        GEO objects to this Request to the extent it is overly broad, unduly burdensome, and not

 relevant or proportional. This Request is overly broad and unduly burdensome to the extent that

 it does not contain a temporal limitation. GEO objects that documents relating to the HUSP are

 relevant only for the time period from October 22, 2004, through October 22, 2014. Similarly,

 documents relevant to the VWP are relevant only for the time period October 22, 2011, through




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 October 22, 2014. Accordingly, the production of any responsive documents will be limited to

 these time periods. GEO also objects to this Request as duplicative of Requests for Production

 Nos. 20 and 21 and incorporates by reference the objections and responses to those Requests.

 Further, GEO objects to using any documents responsive to this Request as a record of hours

 spent on VWP or HUSP tasks. Documents scheduling a time period for a VWP or HUSP task

 only reflect a standard number of hours per shift based on job assignment—the actual hours

 worked by any person on any given day may be different than the schedule. Also, GEO objects

 to this Request as overly broad and unduly burdensome because it seeks “[a]ll documents.” This

 language does not describe with reasonable particularity the information that is being requested.

 See Fed. R. Civ. 34(b)(1). To the extent this Request seeks documents containing confidential

 information regarding detainees or GEO policies, it is subject to the Amended Stipulated

 Protective Order Concerning Confidential Information, dated November 26, 2018 (ECF No.

 155).

         Subject to and without waiving the above-stated objections, GEO responds: GEO

 already has produced documents responsive to this Request. In addition, GEO is in the process

 of conducting a reasonable search of documents on active electronic systems and reasonably

 accessible paper storage areas that GEO believes may contain potentially relevant information.

 To the extent such documents exist, and subject to the Amended Stipulated Protective Order

 Concerning Confidential Information, dated November 26, 2018 (ECF No. 155), GEO will

 produce relevant, responsive, non-privileged documents from the Aurora Detention Facility

 during the class periods. Further, as previously explained, GEO does not record actual hours

 spent on VWP or HUSP tasks, and as such, no such documents exist.




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 REQUEST NO. 45

        All documents that refer or relate to the “set off for the benefits that [the plaintiffs]
 received while in the Aurora Detention Facility” to which GEO claims it is entitled in
 paragraph 20 of its Answer, including all documents that are referenced in, support, or
 that form the basis of GEO’s response to Interrogatory No. 19.

 RESPONSE TO NO. 45

        GEO objects to this Request to the extent it is a contention-styled request and

 inappropriate under the Federal Rules. However, to the extent Plaintiffs claim it is appropriate,

 this Request is also premature until the close of fact discovery. See Fed. R. Civ. P. 26(a)(3)(B).

 GEO also objects to this Request as not relevant or proportional to any claim or defense. Finally,

 GEO objects to this Request as overly broad and unduly burdensome because it seeks “[a]ll

 documents.” This language does not describe with reasonable particularity the information that

 is being requested. See Fed. R. Civ. 34(b)(1).

        Subject to and without waiving the above-stated objections, GEO responds: To the

 extent this Request quotes language from GEO’s Answer, GEO clarifies the citation to

 “paragraph 20.” The language quoted in this Request is found in Affirmative Defense No. 20,

 not paragraph 20. GEO has notified Plaintiffs that it intends to seek leave to file an amended

 Answer that will remove Affirmative Defense No. 20 asserting offset. Accordingly, documents

 responsive to this Request will no longer be relevant to any claim or defense.

 REQUEST NO. 46

        All documents that refer or relate to the benefit conferred by using detainee labor
 pursuant to the VWP to operate, maintain, and clean the Aurora Detention Facility for the
 relevant time period, including: GEO’s financial statements; Profit and Loss statements;
 budgets; documents setting forth the operating costs of the facility, including VWP costs,
 labor costs, and payroll expenses, as well as all details of revenue, contract payments,
 and/or reimbursements to the facility; all documents that contain financial analysis,
 financial models, analysis of profits earned, valuation of the work performed, and/or other
 assessments of the VWP (including in connection with or for the purpose of GEO’s offer(s)



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 and bid(s), and negotiations related to amendment(s) and renewal(s), of contracts related to
 the Aurora Facility); and any per diem rate calculations and/or models related to GEO’s
 Aurora Facility contract(s) for the relevant time period, including, but not limited to, the
 following factors: VWP costs and expenses; labor costs and payroll expenses (excluding
 VWP); expected and guaranteed occupancy; all other costs of providing services (including
 food, medical, building operations, etc.); desired margins.

 RESPONSE TO NO. 46

        GEO objects to this Request to the extent that it is overly broad, unduly burdensome, and

 seeks information not relevant or proportional to any claim or defense. Specifically, GEO also

 objects to this Request as overly broad and unduly burdensome because it contains no temporal

 limitation. GEO objects that documents relevant to the VWP are relevant only for the time

 period October 22, 2011, through October 22, 2014. Moreover, the burden of responding to this

 Request is not proportional to the needs of the case. GEO also objects to this Request as vague

 and ambiguous as the term “benefit” is undefined, and it is unclear what kind of benefit, whether

 monetary or intangible, is implied by Plaintiffs’ Request. GEO interprets the term “benefit” to

 mean profit. This Request combines so many different types of documents under the umbrella of

 “benefit” that GEO cannot reasonably respond. Further, GEO objects to this Request to the

 extent it seeks documents containing information protected from discovery by the attorney-client

 privilege. Finally, GEO objects to this Request as overly broad and unduly burdensome because

 it seeks “[a]ll documents.” This language does not describe with reasonable particularity the

 information that is being requested. See Fed. R. Civ. 34(b)(1).

        Subject to and without waiving the above-stated objections, GEO responds: GEO objects

 to this Request for all of the reasons set forth above. GEO is willing to meet and confer with

 Plaintiffs on its objections, including the purported relevance of this Request.




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 REQUEST NO. 47

       All documents reflecting job descriptions for each VWP job that Class Members
 performed during the relevant periods.

 RESPONSE TO NO. 47


        GEO objects to this Request as overly broad and unduly burdensome because it seeks

 “[a]ll documents.” This language does not describe with reasonable particularity the information

 that is being requested. See Fed. R. Civ. 34(b)(1). GEO also objects that documents relevant to

 the VWP are relevant only for the time period October 22, 2011, through October 22, 2014. To

 the extent this Request seeks documents containing confidential information regarding detainees,

 it is subject to the Amended Stipulated Protective Order Concerning Confidential Information,

 dated November 26, 2018 (ECF No. 155).

        Subject to and without waiving the above-stated objections, GEO responds: GEO

 already has produced job descriptions responsive to this Request. In addition, GEO is in the

 process of conducting a reasonable search of documents on active electronic systems and

 reasonably accessible paper storage areas that GEO believes may contain potentially relevant

 information. To the extent such documents exist, and subject to the Amended Stipulated

 Protective Order Concerning Confidential Information, dated November 26, 2018 (ECF No.

 155), GEO will produce relevant, responsive, non-privileged documents relating to VWP job

 descriptions from the Aurora Detention Facility during the class periods.

 REQUEST NO. 48

       All documents reflecting or relating to Defendant’s contract(s) with ICE to operate
 the Aurora Detention Facility during the relevant periods.




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 RESPONSE TO NO. 48

        GEO objects to this Request to the extent it is overly broad and unduly burdensome.

 Specifically, “[a]ll documents reflecting or relating to Defendant’s contracts with ICE” is overly

 broad and unduly burdensome. This language does not describe with reasonable particularity the

 information that is being requested. See Fed. R. Civ. 34(b)(1). GEO also objects to this Request

 as overly broad and unduly burdensome because it contains no temporal limitation. GEO objects

 that documents relating to the HUSP are relevant only for the time period from October 22,

 2004, through October 22, 2014. Similarly, documents relevant to the VWP are relevant only for

 the time period October 22, 2011, through October 22, 2014. Finally, this Request is governed

 by federal regulations at 6 C.F.R. §§ 5.41-5.49 and by United States ex rel. Touhy v. Ragen, 340

 U.S. 462 (1951) and the Amended Stipulated Protective Order Concerning Confidential

 Information, dated November 26, 2018 (ECF No. 155).

        Subject to and without waiving the above-stated objections, GEO responds: GEO is

 conducting a targeted search of responsive contract documents. GEO will produce contracts

 HSCEDM-11-D-00003, HSCEOP-06-D-00010, and ACD-3-C-0008. In addition to the base

 contracts, GEO will produce task orders issued against these contracts and modifications thereto

 as maintained by GEO.

 REQUEST NO. 49

        All documents relating to the implementation and enforcement of the HUSP
 applicable during the period when Class Members were subject to that policy, including
 but not limited to documents related to sanitation tasks performed by detainees pursuant
 to the HUSP and discipline to which detainees were subject for failing to complete those
 tasks or otherwise abide by the policy.




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 RESPONSE TO NO. 49

        GEO objects to this Request to the extent it is duplicative of Request for Production No.

 17 and incorporates by reference the objections and response to that Request. GEO also objects

 to this Request as overly broad and unduly burdensome because it seeks “[a]ll documents.” This

 language does not describe with reasonable particularity the information that is being requested.

 See Fed. R. Civ. 34(b)(1). To the extent this Request seeks GEO policies, it is subject to the

 Amended Stipulated Protective Order Concerning Confidential Information, dated November 26,

 2018 (ECF No. 155).

        Subject to and without waiving the above-stated objections, GEO responds: GEO

 already has produced documents responsive to this Request. In addition, GEO is in the process

 of conducting a reasonable search of documents on active electronic systems and reasonably

 accessible paper storage areas that GEO believes may contain potentially relevant information.

 To the extent such documents exist, and subject to the Amended Stipulated Protective Order

 Concerning Confidential Information, dated November 26, 2018 (ECF No. 155), GEO will

 produce relevant, responsive, non-privileged documents relating to the implementation and

 enforcement of the HUSP at Aurora Detention Facility during the class periods.

 REQUEST NO. 50

        All documents relating to the implementation and enforcement of the VWP during
 the times when Class Members were subject to the VWP.

 RESPONSE TO NO. 50

        GEO objects to this Request to the extent it is duplicative of Request for Production No.

 19 and incorporates by reference the objections and response to that Request. GEO also objects

 to this Request as overly broad and unduly burdensome because it seeks “[a]ll documents.” This




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 language does not describe with reasonable particularity the information that is being requested.

 See Fed. R. Civ. 34(b)(1). To the extent this Request seeks GEO policies, it is subject to the

 Amended Stipulated Protective Order Concerning Confidential Information, dated November 26,

 2018 (ECF No. 155).

        Subject to and without waiving the above-stated objections, GEO responds: GEO

 already has produced documents responsive to this Request. In addition, GEO is in the process

 of conducting a reasonable search of documents on active electronic systems and reasonably

 accessible paper storage areas that GEO believes may contain potentially relevant information.

 To the extent such documents exist, and subject to the Amended Stipulated Protective Order

 Concerning Confidential Information, dated November 26, 2018 (ECF No. 155), GEO will

 produce relevant, responsive, non-privileged documents relating to the implementation and

 enforcement of the VWP at the Aurora Detention Facility during the class periods.


 REQUEST NO. 51

        All log books or other documents used by GEO employees at the Aurora facility to
 record events in each housing unit, such as when Class Members were able to access
 controlled items within the housing unit.

 RESPONSE TO NO. 51

        GEO objects to this Request as overly broad and unduly burdensome because it seeks

 “[a]ll . . . other documents.” This language does not describe with reasonable particularity the

 information that is being requested. See Fed. R. Civ. 34(b)(1). To the extent that it does not

 contain a temporal limitation, GEO also objects to this Request as overly broad and unduly

 burdensome. Subject to its preliminary statement above, GEO will limit responsive documents

 to a period ending on October 22, 2014. Further, GEO objects to this Request as unduly




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 burdensome because of the volume of log books recorded during the class periods. GEO objects

 that the burden of producing all log books is not proportional to the needs of this case.

        Subject to and without waiving the above-stated objections, GEO responds: Log books

 are not used at the Aurora Detention Facility to record when Class Members had access to

 controlled items. Instead, log books recorded when detention officers conducted their security

 checks every 30 minutes, when they conducted their suicide watch checks every five minutes,

 and when any GEO employee or detainee entered or exited the housing unit. GEO is willing to

 meet and confer about the purpose of Plaintiffs’ Request so that the parties can develop a process

 for production of documents that balances Plaintiffs’ need for the requested documents with the

 substantial burden that GEO faces to produce them.

 Dated: February 6, 2019                           GREENBERG TRAURIG LLP
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                                 CERTIFICATE OF SERVICE

        I, Naomi G. Beer, certify that on February 6, 2019, I caused to be served a true and correct

 copy of the above GEO’s Response to the Plaintiffs’ Third Set of Requests for Production of

 Documents, via Electronic Mail as follows:

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        I certify under penalty of perjury under the State of Colorado that the above information is

 true and correct.

        Dated this 6th day of February 2019, at Denver, CO.




                                                  /s/ Naomi G. Beer
                                                  Naomi G. Beer




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